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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA              )
                                      )
v.                                    )          CASE NO.: 8:24-CR-211-TDC
                                      )
HOAU-YAN WANG,                        )
                                      )
     Defendant.                       )




                  DEFENDANT DR. HOAU-YAN WANG’S
       REPLY IN SUPPORT OF MOTION TO DISMISS THE INDICTMENT



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        In its opposition brief, the Government repeatedly contends that Defendant Hoau-Yan

Wang (“Dr. Wang”) refuses to accept “facts as true,” but that argument ignores the core issues

with the Indictment. The problem lies not in Dr. Wang’s rejection of “facts” contained in the

Indictment, but in the Government’s failure to allege “facts,” rather than conclusory statements.

The Indictment is devoid of the specificity and factual bases required to substantiate such

conclusory allegations and fails to satisfy the legal standard for particularity. As a result, the Court

should dismiss the Indictment.

        In the alternative, if the Government truly possesses facts supporting its conclusory

allegations, the Government should provide a bill of particulars outlining that factual foundation.

Without such clarification, the allegations remain impermissibly vague, undermining the

fundamental fairness and due process required in criminal proceedings.

A.      The Indictment Fails to Allege Materiality

        The Government seems to operate under the flawed assumption that simply invoking the

word “material” in connection with each count is sufficient to establish materiality. It is not.

Merely claiming a statement is ‘material’ without providing further factual support is a barebones

statement of the elements of the claim that cannot withstand a motion to dismiss. See United States

ex rel. Taylor v. Boyko, 39 F.4th 177, 193 (4th Cir. 2022) (“‘[N]aked[ly] assert[ing]’ that a

requirement is ‘material,’ without ‘further factual enhancement,’ is a formulaic recitation of the

elements of a cause of action”); Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (emphasizing

that materiality requires more than merely labeling a statement as “material,” a formulaic recitation

of a cause of action’s elements is insufficient, and factual allegations must be sufficient to raise

the right to relief above the speculative level); Ashcroft v. Iqbal, 556 U.S. 662, 678-79 (2009) (“A

pleading that does nothing more than recite bare legal conclusions, however, is insufficient to

‘unlock the doors of discovery.’”). Repeatedly claiming “materiality” without factual backup is


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nothing more than a rhetorical shortcut—a transparent attempt to substitute repetition for

substance. See Medeiros v. Wal-Mart, Inc., 434 F. Supp. 3d 395, 411 (W.D. Va. 2020) (rejecting

threadbare recitals supported by “mere conclusory statements”). Materiality is not a mere box to

check with legal jargon; it requires concrete allegations that demonstrate how the purported

misstatements influenced or had the potential to influence the decision-maker, which here is the

National Institute of Health (“NIH”). See United States v. Walgreen Co., 78 F.4th 87, 92 (4th Cir.

2023) (“[T]he term ‘material’ means having a natural tendency to influence, or be capable of

influencing, the payment or receipt of money or property” (quoting 31 U.S.C. § 3729(b)(4)));

United States v. Smith, 54 F.4th 755, 769 (4th Cir. 2022) (“The government ‘must prove materiality

by reference to the particular government agency or public officials that were targeted’” (citing

United States v. Raza, 876 F.3d 604, 617 (4th Cir. 2017)).

         Setting aside the Government’s repetitive assertions and conclusory labels, what remains

is a hollow argument unsupported by meaningful substance. The Indictment repeats the phrase

“materially false, fraudulent and misleading statements” thirteen times without offering specific

factual or contextual support for what statements were supposedly materially false. (See, e.g., Doc.

1 ¶¶ 13, 14(a), (b), (d), (e), 15, 17, 18, 25, 29, 32, 34, 29). Instead, the Indictment offers overbroad

language that encompasses decades of Dr. Wang’s voluminous research and leaves him without

any ability to respond to the Government’s case against him. By way of example, the Government

claims that the allegedly materially false statements concern Dr. Wang’s decades of “scientific

research underlying Drug A and Test A,” including (1) the “nature and scope of his scientific

experiments,” the “mechanism” of Test A1 and Drug A, and “the improvement of certain

indicators” of Alzheimer’s disease in patients treated with Drug A (id. ¶¶ 13, 14); (2) thousands of


1
    The anonymized terms used in this Reply are used in the same way as those in the Indictment.


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pages of “NIH grant applications” (id. ¶¶ 14(a), 15, 17); and (3) hundreds of pages of “scientific

journal articles” and scores of communications with those journals (id. ¶¶ 14(d), (e)). When

combined with the volume of discovery here, which currently numbers at over 1 million records,

Dr. Wang is left flatfooted and without the ability to discern what supposed misstatement(s) he

made and to whom. Without specifying what misstatements were supposedly made, and to whom,

the Government also fails to properly allege that those misstatements were material to the funding

decisions of the NIH, an entity the Government admits continues to fund Company 1’s research.

(Doc. 58 at 5); See United States v. Whaley, 786 F.2d 1229, 1232 (4th Cir. 1986) (“[T]he

materiality of a statement rests upon a factual evidentiary showing.”).

       What’s more, the Indictment also claims “material omissions” about certain aspects of

Proposals 1 and 2 without explaining what exactly was omitted and what makes that omission

material to the NIH’s funding decision. (Doc. 1 ¶¶ 18, 25). Considering that Dr. Wang did not

submit any of the grant proposals, it is imperative that the Government identify which of his

supposed statements were material to the NIH’s funding decision. This vague and conclusory

language does nothing to show how these unidentified omissions actually impacted or had the

potential to influence the NIH’s decision-making, so the Government does not meet the materiality

requirement.

       The Government attempts to salvage its position by advancing three flawed points, each of

which collapses under scrutiny. (Doc. 58 at 5). First, the Government asserts that Dr. Wang’s focus

on Figure 1 is misplaced, claiming that Figure 1 is only an “example.” (Id.). However, Dr. Wang

reasonably focused on Figure 1 because it is the only figure explicitly identified in the Indictment

as allegedly false. While the Indictment vaguely references other “materially false” statements and

unspecified figures, it provides no details about what these other figures are, how they are false,




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or how they impacted NIH’s funding decisions. The Government’s concession that Figure 1 is an

“example” is exactly what is wrong with the Indictment and the accompanying 1 million discovery

records: Dr. Wang cannot discern the universe of statements, images, and other records that the

Government claims to be false. The criminal justice system should be a transparent system

designed to provide the defendant with equal access to information and defenses. The

Government’s positions both here and in the pre-Indictment phase are an overreach and violative

of Dr. Wang’s constitutional rights.

       Further, the Government does not assert that Dr. Wang directly submitted these other

figures, but instead somehow “caused” them “to be submitted” by Company 1. (See, e.g., Doc. 1

¶¶ 14(a), (d), 15). The Government does not allege who at Company 1 actually submitted the other

figures or how Dr. Wang, an independent consultant outside of Company 1, somehow cause

Company 1, a publicly traded pharmaceutical company, to submit them. Dr. Wang, then, is left to

attempt to decipher which figures the Government is referencing, when he did not submit them

and does not know who did. The Government cannot satisfy either the materiality or particularity

requirements with such vague allegations.

       Second, after claiming Figure 1 is only an “example,” the Government then turns its own

argument on its head and claims Dr. Wang improperly discounts the importance of Figure 1. (Id.).

Yet the Indictment itself fails to explain how Figure 1—or any other figure—was material to the

NIH’s funding decisions, making any assertion of materiality speculative at best.

       If Figure 1 were truly material, one would expect some demonstrable impact on the NIH’s

actions, yet the Indictment fails to provide such evidence. The Government’s reliance on NIH

employee statements for such evidence underscores the insufficiency of the Indictment itself. If

the materiality allegations in the Indictment were sufficient, there would be no need to refer to




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evidence produced in discovery. In any event, the NIH employee statements contained within the

voluminous discovery notably fail to explain why—if the figure in question were truly material

and, as the Government alleges, manipulated—the NIH has continued to fund Company 1’s work.

       Third, the Government’s claim that the NIH has not acted differently due to lack of access

to the Government’s investigative materials is both irrelevant and deeply problematic. (Id. at 6).

Materiality is determined by the potential influence of a fact on a reasonable decision-maker, not

the availability of specific documents uncovered during the investigation. United States ex rel.

Feldman v. van Gorp, 697 F.3d 78, 96 (2d Cir. 2012). Grand jury secrecy rules allow the

Government to share certain core facts without revealing the grand jury’s inner workings,

particularly when addressing alleged false statements supposedly material to a government

agency’s decisions. See, e.g., United States v. Procter & Gamble Co., 356 U.S. 677, 683 (1958)

(holding “grand jury secrecy could be ‘lifted discretely and limitedly’ in cases of ‘particularized

need’”). If the Government deemed Dr. Wang’s allegedly false statements serious enough to

warrant criminal charges, then the Government would presumably have shared this critical

information with the NIH—the agency allegedly defrauded. The NIH’s continued funding and

support for the project undermines the Government’s conclusory claim of materiality.

       In sum, the Indictment’s conclusory references to materiality, unsupported by specific

factual allegations, render it legally insufficient and warrant dismissal. Alternatively, as the

Government apparently concedes, a bill of particulars is necessary (Doc. 58 at 2) to clarify the

allegations and allow Dr. Wang to meaningfully defend himself.2 United States v. Duncan, 598



2
 Dr. Wang notes with significant concern that, despite the Government’s offer to meet and confer
during the initial status conference, it failed to follow up on this offer until the very day Dr. Wang’s
motions were due—a blatant maneuver that effectively eliminated any chance for meaningful
discussion. This eleventh-hour approach is emblematic of the Government’s broader disregard for
procedural fairness in this case. The allegations, involving more than 1 million discovery


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F.2d 839, 848 (4th Cir. 1979); see United States v. Sampson, 448 F. Supp. 2d 692, 696 (E.D. Va.

2006) (ordering a bill of particulars to inform the Defendant of specific allegations).

B.     The Major Fraud (Count 1) Count is Time-Barred.

       The Government’s argument that the resubmission of allegedly fraudulent material can

reset the statute of limitations for a major fraud offense is legally flawed because major fraud is

not a continuing offense. (Doc. 58 at 6-7); 18 U.S.C. § 1031(f); United States v. Reitmeyer, 356

F.3d 1313, 1322 (10th Cir. 2004) (“[T]he ‘execution’ of a scheme under the Major Fraud Act is

not a ‘continuing offense’ for statute of limitations purposes”); United States v. Jaynes, 75 F.3d

1493, 1506 n.12 (10th Cir. 1996) (“Separate offenses may be part of a common scheme without

being ‘continuing’ for limitations purposes.”). A new submission of the same supposedly

fraudulent material does not revive or extend the statute of limitations for the underlying fraudulent

conduct. See, e.g., United States v. Curran, 643 F. Supp. 3d 921, 924 (S.D. Iowa 2022) (noting

that bank fraud offenses, which are not continuing, were complete in November 2009 and

December 2010, when the defendant obtained money through fraudulent checks and concealed it

in QuickBooks; subsequent repetitions of the conduct did not alter this conclusion).

       Major fraud is a discrete offense, and the statute of limitations begins to run when the

fraudulent act is committed, not when the fraudulent material is later used in a separate, subsequent

submission. Reitmeyer, 356 F.3d at 1323 (“Once the scheme is ‘executed,’ the crime has ended,

and additional conduct in furtherance of the scheme does not extend the statute of limitations for

that particular ‘execution.’”); Cf. Haq v. Adora Mfg. Inc., No. 1:23-cv-316, 2024 U.S. Dist. LEXIS




documents and multiple grant applications and journal articles, are highly complex and
intertwined. The Government’s failure to engage in timely communication about its allegations
not only undermines Dr. Wang’s ability to adequately respond but also exemplifies why a bill of
particulars is critical in this case.


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164903, at *13 (M.D.N.C. Sep. 13, 2024) (“Under the continuing [offense] [] theory, ‘each

issuance’ of a paycheck constitutes a new cause of action for statute of limitations purposes.”).

       The Government’s position that the conduct underlying the charged major fraud occurred

on January 12, 2018, relies on a faulty assumption that the submission of fraudulent Proposal 1 to

the NIH somehow “restarts” the statute of limitations for the conduct tied to Figure 1. (Doc. 58 at

7). However, the mere reuse of Figure 1 from the August 2016 Grant 1 application does not

constitute a new act of fraud that would extend the limitations period. See, e.g., Reitmeyer, 356

F.3d at 1325 (“The statute of limitations began running when the Companies ‘executed’ their

scheme on May 16, 1994. The Companies’ subsequent meeting with the Corps in 1995 was not a

‘continuation’ of their ‘execution’”; which was completed when the claim was filed. The meeting

was “merely an act in furtherance”, not an extension of the limitations period.). As noted, any

alleged fraud connected to Figure 1 occurred in August 2016, when it was first included in the

application for Grant 1, and is well outside the statute of limitations for major fraud under 18

U.S.C. § 1031(f). Therefore, the major fraud charge should be dismissed.

C.     The Indictment’s Vague Allegations Do Not Provide Dr. Wang Fair Notice of the
       Charges Against Him, and the Discovery Does Not Cure that Deficiency.

       The Government’s claim that the voluminous discovery—exceeding 1 million records3—

provides Dr. Wang with the ability to discern the “core allegations” (Doc. 58 at 12-13) is both




3
   A substantial volume of electronically stored information (ESI) has been received from the
Department of Justice (DOJ). Following the extraction of forensic images, the processing of native
files, and the handling of pre-processed data, more than 1,018,000 records have been received and
ingested into a document review platform for analysis. The dataset includes approximately
449,000 Bates-stamped documents, as well as an additional 569,000 un-Bates-stamped documents.
These records encompass forensic collections from email accounts, laptops, and multiple
electronic storage devices, including hard disk drives, USB storage devices, thumb drives, a CD-
ROM, a Blu-ray disc, and an Apple iCloud account. The dataset also includes manuscripts, studies,
reports, and other materials. Due to the substantial volume of data and the diversity of sources


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misleading and flawed. Rather than equipping the defense with any clarity, this overwhelming and

indiscriminate document dump confuses the central allegations, making it nearly impossible to

prepare an adequate defense. Despite the Government’s assertion that it has “specifically

identified” materials analyzing the “core misrepresentations” (id.), what the Government has

actually done is suggested that these “core allegations” (as opposed to all of the allegations) are

buried somewhere within “expert analyses” scattered throughout the broader discovery, without

offering any concrete direction to those analyses or identifying key documents.4 This approach

effectively shifts the burden onto Dr. Wang to sift through an avalanche of materials to find the

“core” allegations and glean which expert(s) the Government is apparently referencing, from

among journal editors and financially motivated short sellers of Company 1’s stock, among others.

       Furthermore, the Government argues that it is not necessary to identify specific statements

or the “how, why, or when” of Dr. Wang’s actions. (Doc. 58 at 13). However, the Government

must allege the “essential” facts of the charged crimes. United States v. Quinn, 359 F.3d 666, 673

(4th Cir. 2004) (“[T]he indictment must also contain a statement of the essential facts constituting

the offense charged.”) (emphasis added). Those essential facts here include both the supposed false

statements (discussed above) and the defendant’s alleged involvement in the fraudulent scheme

and a consideration of whether that involvement was a “substantial factor” in bringing about the



from which it was obtained, the processing and review of these materials are both resource-
intensive and time-consuming, necessitating significant expenditures of time and cost.
4
  At the initial status conference call on August 30, 2024, when the Court inquired about whether
the parties had engaged in a meet-and-confer discussion, defense counsel highlighted prior
attempts to obtain further details from the Government regarding the allegations, noting that the
Indictment referenced only one allegedly falsified image. In response, the Government vaguely
asserted that its discovery contained a “set of expert materials” encompassing the “core
allegations” related to other potential false statements. Contrary to the Government’s brief, which
misleadingly suggests that specific guidance was provided (Doc. 58 at 12-13), the Government
offered no meaningful detail beyond this generic assertion regarding the “core allegations.”


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charged conduct. See, e.g., United States ex rel. Tran v. Computer Scis. Corp., 53 F. Supp. 3d 104,

127 (D.D.C. 2014) (“To determine whether a defendant who did not actually submit a claim or

make a false statement ‘has caused the submission of a false claim or false statement, a court must

look at the degree to which that party was involved in the scheme that results in the actual

submission.’”); United States ex rel. Scollick v. Narula, 215 F. Supp. 3d 26, 39 (D.D.C. 2016)

(“Courts should consider whether the [government] has alleged that the defendant’s conduct was

‘at least a substantial factor in causing, if not the but-for cause of, submission of false claims.’”)

(emphasis added).

       The Indictment fails to meet this burden. It relies on vague and conclusory statements, such

as “Dr. Wang caused to be submitted” (Doc. 1 ¶¶ 10, 14(a), (b), (d), 18, 20, 24, 25) that fail to

explain how Dr. Wang was allegedly involved in fraudulent actions. As the Court noted in Iqbal,

legal conclusions “must be supported by factual allegations.” Iqbal, 556 U.S. at 679. The

Indictment does not make factual allegations—it makes empty assertions that leave essential

questions unanswered: Did Dr. Wang personally insert fabricated data into the Proposals? Did he

direct others to include false results? Did he instruct colleagues or subordinates to submit the

proposals on his behalf? Did he even take part in reviewing the materials before they were

submitted? Did he have any ability to sign off on the grant proposals? What, specifically, was his

role in “causing” these submissions?

       The Government’s failure to provide specific, concrete details is particularly problematic

when applied to the causation requirement for its aiding and abetting theory. See 18 U.S.C. § 2; In

re § 1031 Exch. Litig., 716 F. Supp. 2d 415, 422 (D.S.C. 2010) (“Causation is an essential element

of an aiding and abetting claim as the plaintiff must show that the aider and abettor provided

assistance that was a substantial factor in causing the harm suffered.” (citing Neilson v. Union




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Bank of Cal., N.A., 290 F. Supp. 2d 1101, 1135 (C.D. Cal. 2003))). Under the aiding and abetting

statute, the Government is obligated to prove that Dr. Wang engaged in an affirmative act that

directly furthered the commission of the underlying offense. See United States v. Everett, 91 F.4th

698, 712 (4th Cir. 2024) (“To prove aiding and abetting, the prosecution must establish that the

defendant (1) took an affirmative act in furtherance of the underlying offense and (2) did so with

the intent of facilitating the offense’s commission.”) (emphasis added); First Fin. Sav. Bank v. Am.

Bankers Ins. Co., No. 88-33-CIV-5-H, 1990 U.S. Dist. LEXIS 18860, at *17 (E.D.N.C. July 5,

1990) (defining “substantial assistance” for an aider and abettor as requiring more than nominal or

routine assistance and, in cases of inaction, requiring proof that the alleged aider-abettor

consciously intended to facilitate the wrongful act). The Government’s vague allegations do not

meet this standard. The Indictment provides no facts to substantiate the claim that Dr. Wang played

any role—let alone a central one—in the alleged fraudulent activities. Dr. Wang was never an

employee of Company 1, nor did he have any formal role in the submission of NIH grants or other

related filings. As an independent consultant, he operated at arm’s length from Company 1, further

negating any claim that his actions could have influenced or “caused” the submission of grants or

fraudulent representations. Additionally, his physical location in New York, far removed from

Company 1’s operations, only serves to reinforce this lack of connection between Dr. Wang and

the alleged submissions in question. The Indictment’s passive, unclear, and unsupported actions

fall far short of establishing the affirmative conduct required to meet the causation and intent

standards under 18 U.S.C. § 2.

       Rather than providing clarity, the Government deflects by accusing the defense of “refusing

to accept the facts” of the Indictment. (Doc. 58 at 3, 6, 8, 13, 14). This is a diversion. The issue is

not the refusal to accept facts; it is the complete lack of facts in the Indictment itself. The




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Government offers no detailed account of Dr. Wang’s actions—only broad, unfounded claims

dancing around the issue. Without specifying the how5 of Dr. Wang’s alleged involvement, the

Indictment fails to provide notice of the charges and denies him the opportunity to properly prepare

his defense.

        In light of the deficiencies outlined above, if the Government asserts that all of this

information is contained within the discovery, it must provide a bill of particulars. Sampson, 448

F. Supp. 2d at 696 (“The purpose of a bill of particulars ‘is to fairly apprise the defendant of the

charges against him so that he may adequately prepare a defense and avoid surprise at trial.’”

(quoting United States v. Automated Med. Labs., Inc., 770 F.2d 399, 405 (4th Cir. 1985))). A bill

of particulars would force the Government to clearly outline the specific allegations it intends to

rely upon at trial, identifying the particular statements or actions that Dr. Wang allegedly made or

participated in, as well as how he contributed to the alleged fraudulent scheme.6 Id. (“In the case

of fraud . . . it is critical that the government identify in the indictment the dates of the fraudulent


5
  The Government’s reliance on its allegations of “how,” “why,” and “when” still fails to address
the fundamental question of how Dr. Wang caused the submission of fraudulent grant proposals.
Alleging that the results of his research were falsified, that he contributed to grant applications, or
that he was listed as a sponsor investigator merely establishes a general association with the
submissions, not causation.
6
  In United States v. Elbaz, this Court ruled that the government’s production of 2.5 million pages
of discovery, along with a general index, was insufficient for the defendant to adequately prepare
a defense. United States v. Elbaz, 332 F. Supp. 3d 960, 981, 982-83 (D. Md. 2018). The Court
found that the index failed to specifically identify the false statements allegedly made by the
defendant in furtherance of the wire fraud. Id. at 983. As a result, the Court ordered the government
to provide a bill of particulars listing the specific false statements, including the dates and
recipients. Id. at 982-83. The facts in our case are strikingly similar. The Government has produced
over a million documents, that certainly amount to millions of pages, accompanied by an initial 6-
page index, followed by an additional 4-page index that adds little, both of which fail to identify
the specific false statements at issue (or much else, for that matter). As in Elbaz, the index lacks
the necessary specificity for Dr. Wang to prepare his defense. Therefore, like the defendant in
Elbaz, Dr. Wang should be entitled to a bill of particulars to clarify which specific statements the
Government intends to rely on at trial.


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conduct, the specific fraudulent documents, and the fraudulent statements within the documents.”

(citing United States v. Bortnovsky, 820 F.2d 572, 574 (2d Cir. 1987) (holding the trial court erred

in failing to require government to specify documents which were falsified pursuant to request for

bill of particulars))). Without this clarification, the Government is left to rely on vague and

conclusory allegations, which are insufficient to meet the requirements of the Sixth Amendment

and due process. If the Government cannot provide this information in the form of a bill of

particulars, it should be deemed a deficiency in the Indictment itself, warranting dismissal or at

the very least a more detailed response.7

                                            CONCLUSION

        For these reasons, Dr. Wang respectfully requests that this Court dismiss the Indictment

in its entirety or, in the alternative, direct the Government to file a bill of particulars.




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 For any arguments not addressed in this reply, Dr. Wang incorporates by reference the arguments
made in his opening brief.


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Dated: November 26, 2024                              Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on the 26th day of November, 2024, I filed the foregoing Reply in

Support of Defendant Hoau-Yan Wang’s Motion to Dismiss the Indictment using the Court’s

CM/ECF system. The CM/ECF system sent a “Notice of Electronic Filing” to all counsel of record

who have entered an appearance in this matter.

                                             /s/ Joanne Zimolzak
                                            Joanne Zimolzak




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